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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                     )
                                              )                 8:14CR184
                     Plaintiff,               )
                                              )
       vs.                                    )                  ORDER
                                              )
GUILLERMO RIOL,                               )
                                              )
                     Defendant.               )

       This matter is before the court on the motion for an extension of time by defendant
Guillermo Riol (Riol) (Filing No. 38). Riol seeks an additional thirty days in which to file
pretrial motions in accordance with the progression order. Riol's counsel represents that
government's counsel has no objection to the motion. Upon consideration, the motion will
be granted.


       IT IS ORDERED:
       Defendant Riol's motion for an extension of time (Filing No. 38) is granted. Riol is
given until on or before September 25, 2014, in which to file pretrial motions pursuant to
the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between August 20, 2014,
and September 25, 2014, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 20th day of August, 2014.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
